                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

 Case No.         SACV 21-00665-JLS (ADSx)                          Date        September 23, 2021
 Title            Rival Transport, LLC v. Western Express Inc. et al




 Present: The Honorable          JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE
 Elsa Vargas for Melissa Kunig                       None Present                         __________
                Deputy Clerk                   Court Reporter / Recorder                   Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                      None Present                                     None Present
 Proceedings:              (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                           LACK OF PROSECUTION

        The Court, on its own motion, hereby ORDERS plaintiff, to show cause in writing no
later than October 1, 2021, why this action should not be dismissed for lack of prosecution.
As an alternative to a written response by plaintiffs, the Court will consider the filing of one of
the following, as an appropriate response to this OSC, on or before the above date:

X        Plaintiff filing a Motion for Entry of Default Judgment (FRCivP 55b)

       Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ. P 4(m). The Court may dismiss the entire action prior to the
expiration of such time, however, if plaintiff has not diligently prosecuted the action.

       It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If
necessary, plaintiffs must also pursue Rule 55 remedies promptly upon the default of any
defendant. All stipulations affecting the progress of the case must be approved by the Court.
Local Rule 7-1.

        No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a responsive pleading or motion on or before the date
upon which a response by plaintiffs is due.
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